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                                                                                                                        Check as directed in lines 17 and 21:
                                                                                                                        According to the calculations required by
                                                                                                                        this Statement:

                                                                                                                        ii'1. Disposable income is not detennined
                                                                                                                              under 11 U.S.C. § 1325(b)(3).
                                                                                                                        D 2. Disposable income is determined
                                                                                                                              under 11 U.S.C. § 1325(b}(3).
      Case number
          (If known)                                                                                                    Q✓- The commitment period is 3 years.
                                                                                                                       [JJ 4. The commitment period is 5 years.




    Official Form 122C-1
    Chapter 13 Statement of Your Current Monthly Income
    and Calculation of Commitment Period                                                                                                                04/20
    Be as complete and accurate as possible. If two married people are filing together, both are equaily responsible for being accurate. If
    more space is needed, attach a separate sheet to this form. Include the line number _to which the additional information applies. On the
    top of any additional pages, write your name and case number (If known).


                       Calculate Your Average Monthly Income                                                                                                           /
     1. ~~ is your marital and filing status? Check one only.
           [kJ'Not married. Fill out Column A, lines 2-11.
           D Married. Fill out both Columns A and B, lines 2-11.
            Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
            bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
            August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide ttie total by 6. Fill in
            the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
            from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                            Column A              ColumnB
                                                                                                            Debtor 1              Debtor 2 or
                                                                                                                                  non-filing spouse

     2. Your gross wages, salary, tips, bo~~s~s, overtime, and commissions (before all
            payroll deductions).         l!Ji.1 vJef!Jt.ot   ~                  •                            $_
                                                                                                                  ,o-                  $

     3. Aliinony and maintenance payments. Do not include payments from a spouse.
                                                                                                             $    ....,o-              $

     4. All amounts from any source which are regularly paid for household expenses of
            you or your dependents, including child support. Include reguJar contributions from
            an unmarried partner, members of your household, your dependents, parents, and
            roommates. Do not include payments from a spouse. Do not include payments you
            listed on line 3.
                                                                                                                  -o-
                                                                                                             $_ _ __                   $____
     s. Net income from operating a business, profession, or
                                                                         Debtor 1     Debtor 2
            farm
            Gross receipts (before all deductions)
                                                                           $   -o-     $..::_'O ....

            Ordinary and necessary operating expenses                   - $:i!::_- $~1i':1~
            Net monthly income from a business, profession, or farm                                                                $       bfOO, oO

     6.     Net income from rental and other real property               Debtor 1     Debtor 2

            Gross receipts (before all deductions)                         $_0_        $_Q__
            Ordinary and necessary operating expenses                   -$_0_-$_0_
.... ___ N:_t~MibJY i~me_fr<:..mrental .or o,ltJer [El~l f?!operty         $_0_. i $.:.__Q_.:_' ~:r'•i     ',$Z]f(J,r» ·-------$-6.flJC?-.°'7

     Official Fann 122C-1          '!;      Chapter13 Statement of Your Current Monthly Income and Calculation of.Commitment Period                           page 1
                                                        Case 22-13983-PDR                                                  Doc 16                     Filed 06/03/22                             Page 2 of 4


            Debtor1                                                                                                                                                           Case number (if known)



                                                                                                                                                                             Column A                    ColumnB
                                                                                                                                                                             Debtor 1                    Debtor 2 or
                                                                                                                                                                                                         non-filing spouse

           7. Interest, dividends, and royalties                                                                                                                              $._-(!)
                                                                                                                                                                                 _ _ __                         --0-
                                                                                                                                                                                                           $. _ _ __
                                                                                                                                                                                                           $   - 0 ...
           a.   Unemployment compensation                                                                                                                                     $       -    0 -
                Do not enter the amount if you contend that the amount received was a benefit under
                the Social Security Act. Instead, list it here: ........................................ ~

                   For you .....................................................................................            $      ...   o-
                   For your spouse .................................................................... .                   $       -     "     -

           9. Pension or retirement income. Do not include any amount received that was a
              benefit under the Social Security Act. Also, except as stated in the next sentence, do
              not include any compensation, pension, pay, annuity, or allowance paid by the United
              States Government in connection with a disability, combat-related injury or disability, or
              death of a member of the uniformed services. If you received any retired pay paid
              under chapter 61 of title 10, then include that pay only to the extent that it does not
              exceed the amount of retired pay to which you would otherwise be entitled if retired
              under any provision of title 1O other than chapter 61 of that title.
                                                                                                                                                                                  - 0 --
                                                                                                                                                                             $_ _ _ _ _                    s_-
                                                                                                                                                                                                             __o_.,,...._
          10. Income from all other sources not listed above. Specify the source and amount. Do
                not include any benefits received under the Social Security Act; payments made under
                the Federal law relating to the national emergency declared by the President under the
                National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
                disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
                against humanity, or international or domestic terrorism; or compensation, pension, pay,
                annuity, or allowance paid by the United States Government in connection with a
                disability, combat-related injury or disability, or death of a member of the uniformed
                services. If necessary, list other sources on a separate page and put the total below.
                                                                                                                                                                             $_ _ _ _ _   - 0 -           $    -o-
                                                                                                                                                                             s.__-_o_-_                   $__o--
                                                                                                                                                                                                            _ __

                  Total amounts from separate pages, if any.                                                                                                             + $._ _..:;.,,..._er_-_        + $._-
                                                                                                                                                                                                            __o_-_

          11. Calculate your total average monthly income. Add lines 2 through 10 for each
                column. Then add the total for Column A to the total for Column B.                                                                                           s 'J.,1~o.oo           I+ I s ti,500,w I= Is__jj{g_trJ I
                                                                                                                                                                                                                             Total average
                                                                                                                                                                                                                             monthly Income




                              Determine How to Measure Your Deductions from Income

          12. Copy your total average monthly income from line 11 . .........................................................................................................................

          13. ~~late the marital adjustment Check one:

                [I'You are not married. Fill in O below.
                0 You are married and your spouse is filing with you. Fill in Obelow.
                D You are married and your spouse is not filing with you.
                     Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
                     you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than
                     you or your dependents.
                    Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
                    list additional adjustments on a separate page.

                     If this adjustment does not apply, enter O below.
                                                                                                                                                                                  $       :,').00.\)0
                                                                                                                                                                                  $        :)/)~•   00
                                                                                                                                                                             +$            0
                    Total ................................................................................................................................................   I sb'.95fl,ao I           ~opyhere   ~
                                                c'.i:.!J~)'..
                              ':':Ji-., "::!i'.~1                                                             -+·"'         '.'.!it'li!~Y·•i:-··
. •2 ..   14. Your current monthly income. Subtract the total in line                                             1J from line 12.'

           Officia1'Form 122c...::'f'                        Chapter 13 Statement of Your Current Mfmthly lncomt! and Calcutation                                                                of Commitment Period               page~-'
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             Debtor1                                                                                                                                                     Casenumberc;rknown)                 ;I=z-J 3JJJJ / /Ji)£

            15. Calculate your current monthly income for the year. Follow these steps:
                                                                                                                                                                                                                                              $"2,1,00•     ~      I
                    15a. Copy line 14 here+ ...........................................................................................................................................................................................

                              Multiply line 15a by 12 (the number of months in a year).
                                                                                                                                                                                                                                              X-. 12

                   15b. The result is your current monthly income for the year for this part of the form .....................................................................................                                            ~~~ ~~
            16. Calculate the median family income that applies to you. Follow these steps:

                   16a. Fill in the state in which you live.                                                                 fltt,<iv>i
                   16b. Fill in the number of people in your household.                                                         s-
                    16c. Fill in the median family income for your state and size of household ...............................................................................................                                                $ -
                                                                                                                                                                                                                                                       l' _.,
                              To find a list of applicable median income amounts, go online using the link specified in the separate
                              instructions for this form. This list may also be available at the bankruptcy clerk's office.

            17. How do the lines compare?

                    17a.     D Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                                             11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

                    17b.     D Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                                             11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                                             On line 39 of that form, copy your current monthly income from line 14 above.

                                              Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)


            1a. Copy your total average monthly income from line 11 . ............................................................................................................................

            19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
                calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income, copy
                the amount from line 13.
                19a. If the marital adjustment does not apply, fill in O on line 19a. .............................................................................................
                                                                                                                                                                                                                                          -$       0
                  19b. Subtract line 19a from line 18.                                                                                                                                                                                        $   qa•tiJ I
            20. Calculate your current monthly income for the year. Follow these steps:


                  20a. Copy line 19b................................................................................................................................................................................................              qiSrJ,oO
                                                                                                                                                                                                                                              $._ _ __

                              Multiply by 12 (the number of months in a year).                                                                                                                                                            X       12
                  20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                              $ I Jl~DI)   ,/JO

                  20c. Copy the median family income for your state and size of household from line 16c.......................................................................




            21. How do the lines compare?


                  D Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
                             The commitment period is 3 years. Go to Part 4.




                  " i n e 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
                      check box 4, The commitment period is 5 years. Go to Part 4.


               • ~, •. : I    ~   ,.., ,..




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       •·    Official F.erm 122C-1                             Chapter 13 Statement ofYour Current Monthly Income and Calculation of Commitment Period                                                                                                     page3
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     Debtor1                                                                                        Case number (1fknown)




                 Sign Below

                 By signing here, under penalty of perjury I declare that the information on this statemen:.pd,1~ any attachments is true and correct.

                 Xj)~                                                                         ~
                                                                                         X- - = ------------------
                    Signature of Debtor 1                                                    Signature of Debtor 2


                    Date    6-'Z.,,-<-<--                                                    Date    IJfrl:;.:J..
                            MM/DD   /YYYY                                                           MM    D     /YYYY

                 If you checked 17a, do NOT fill out or file Form 122C-2.
                 If you checked 17b, fill out Fonm 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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     Official Fonm 122C-1           Chal)!9r 13 Statem11nt of Y,pur CJ,1rrent:Monthly Income and Calculation of Commttment Period         1•
